Case 2:13-cr-00072-SPC-NPM Document 217 Filed 11/11/14 Page 1 of 3 PageID 6034




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

                                                     Case No. 2:13-cr-00072-JES-UAM
 UNITED STATES OF AMERICA,

        Plaintiff

 v.

 DAVID LEON FREDERICK, and
 PATRICIA LYNN HOUGH

       Defendants.
 ___________________________________/

                    DEFENDANT PATRICIA LYNN HOUGH’S OPPOSITION TO
                        APPLICATION FOR WRIT OF GARNISHMENT

        COMES NOW, Defendant Patricia Lynn Hough, by and through her counsel of record,

 and hereby submits this Opposition to the government’s Application for Writ of Garnishment

 [DE 214]. This opposition is based on the incorporated memorandum of law, the files and

 records in this case, and such further evidence and argument as may be presented at any hearing

 on the government’s motion and in support thereof states as follows:


                               MEMORANDUM OF LAW
        While Dr. Hough sits in prison serving her 24-month sentence, and while her convictions

 and sentence are on appeal to the Eleventh Circuit, the government has asked this Court to order

 garnishment of 68-year-old Dr. Hough’s retirement plan to satisfy the restitution and costs of

 prosecution obligation imposed by this Court at sentencing.

        Dr. Hough filed a timely Notice of Appeal on May 13, 2014, and filed her opening brief

 on November 6, 2014. In her opening brief, a copy of which is attached hereto as Exhibit A, Dr.

 Hough challenges her convictions and sentence, including this Court’s calculation of tax loss
Case 2:13-cr-00072-SPC-NPM Document 217 Filed 11/11/14 Page 2 of 3 PageID 6035




 (which determined her restitution obligation). “The filing of a notice of appeal is an event of

 jurisdictional significance — it confers jurisdiction on the court of appeals and divests the district

 court of its control over those aspects of the case involved in the appeal.” Griggs et al. v.

 Provident Consumer Discount Co., 459 U.S. 56, 58 (1982). The district court may retain

 jurisdiction only over “collateral matters not affecting the questions presented on appeal.” Doe

 v. Bush, 261 F.3d 1037, 1064 (11th Cir. 2001). Because the propriety and amount of the

 restitution order is one of the direct subjects pending before the Eleventh Circuit, this Court

 currently lacks jurisdiction to take action regarding those matters.

        Even were there no jurisdictional bar, principles of lenity, fairness, and judicial economy

 counsel in favor of deferring any garnishment or other restitution-related action until such time,

 if any, as Dr. Hough’s conviction and sentence are final. If the government is allowed to garnish

 Dr. Hough’s retirement account at this time, and her conviction or sentence is subsequently

 reversed on appeal, a host of complex issues could arise concerning return of those funds to Dr.

 Hough, interest she is owed, and taxability of any sums taken from and later restored to her

 retirement account. There is simply no need to take such action while Dr. Hough is in prison,

 without access to her funds, and while she is vigorously contesting her conviction and sentence

 in the Court of Appeals.1

        For the foregoing reasons, Dr. Hough respectfully asks that the government’s Application

 for Writ of Garnishment be denied or stayed until following resolution of the pending appeal.

 Dated: November 11, 2014.




 1
  The government notes in its application that demand for payment was made on June 20, 2014,
 and Dr. Hough has failed to satisfy the debt. The government does not note that Dr. Hough has
 been in custody since July 18, 2014, after this Court denied her motion for bail pending appeal.
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                                                 Bruce L. Udolf, PA
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Case 2:13-cr-00072-SPC-NPM Document 217 Filed 11/11/14 Page 3 of 3 PageID 6036




                                                             Respectfully submitted,

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                                                             By: /s/ Bruce L. Udolf



                                    CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that a true and correct copy of the foregoing was filed
 electronically using the Court’s CM/ECF system, on this 11th day of November, 2014.

                                                                       By: /s/ Bruce L. Udolf




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